Oo CO NY DB Ww S&S WY He

~w NM YN NY YN Ww DW
o Qa A wa 8B Oo YH & F&F 6 OW Da aA RBH 2S

Case 2:17-cv-00218-RSM Document 35-6 Filed 02/16/17 Pagelof1

DECLARATION OF VIRIDIANA SARAHI CHABOLLA MENDOZA
L VIRIDIANA SARAHI CHABOLLA MENDOZA, declare as follows:
1. I make this declaration based on my own personal knowledge and if called
as a witness, I could and would testify to the following matters.
2. I hereby declare that I am fluent in Spanish and English. I have translated
Luz L.’s declaration from Spanish to English. The translation is a true, accurate, and

complete version of the original text to the best of my knowledge.

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct. Executed on February 16, 2017, in Lindsay,

California.

ey
‘ of L f -

Viridiana Sarahi Chabolla Mendoza

1
DECLARATION OF VIRIDIANA SARAHI CHABOLLA MENDOZA

